     Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 1 of 30




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

                                        §
RETROLED COMPONENTS, LLC,               §
                                        §
  Plaintiff / Counterclaim-Defendant,   §
                                        §   Civil Case No.: 6:18-cv-55-ADA
             v.                         §
                                        §
PRINCIPAL LIGHTING GROUP, LLC,          §
                                        §
  Defendant / Counterclaim-Plaintiff.


 PRINCIPAL LIGHTING GROUP’S OPENING CLAIM CONSTRUCTION BRIEF
                Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 2 of 30




                                                     TABLE OF CONTENTS

                                                                                                                                   Page(s)

I.         INTRODUCTION .................................................................................................................. 1
II.        THE ’835 PATENT ................................................................................................................ 2
III.          APPLICABLE LAW .......................................................................................................... 5
IV.           ARGUMENT ...................................................................................................................... 7
      A.      “Frictionally Engage [/Engaging]” (claims 1, 13, and 19) ................................................. 7
      B.      “Elongate Support Member” (claims 1, 13, and 19) ........................................................... 9
      C.      “Mechanical Coupling Element” (claims 1 and 19) ......................................................... 13
      D.      “End Cap” (claims 1, 13, and 19) ..................................................................................... 16
      E.      “Non-Electrically Engage” (claim 19) .............................................................................. 18
      F.      “Mount”/“Coupling” (claims 1, 8, 13, 14, 16, and 18-20)................................................ 19
      G.      “Low Voltage” (claims 16, 17, and 19) ............................................................................ 22
      H.      “Resinous Plastic Extrusion” (claim 12)........................................................................... 24
V.         CONCLUSION ..................................................................................................................... 24




                                                                        i
            Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 3 of 30




                                             TABLE OF AUTHORITIES

                                                                                                                          Page(s)

Cases

Advanced Electrolyte Techs. LLC v. Samsung SDI Co., Ltd,
   No. A:17-CV-0030-LY, 2018 WL 2770648 (W.D. Tex. June 8, 2018) ....................................6

Becton, Dickinson & Co. v. Tyco Healthcare Grp., LP,
   616 F.3d 1249 (Fed. Cir. 2010)................................................................................................19

Bos. Sci. Corp. v. Cook Grp. Inc.,
   No. CV 15-980-LPS-CJB, 2017 WL 1364205 (D. Del. Apr. 12, 2017)..................................12

C.R. Bard, Inc. v. U.S. Surgical Corp.,
   388 F.3d 858 (Fed. Cir. 2004)....................................................................................................7

CAE Screenplates, Inc. v. Heinrich Fiedler GmbH & Co.,
  224 F.3d 1308 (Fed. Cir. 2000)................................................................................................19

Control Res., Inc. v. Delta Elecs., Inc.,
   133 F. Supp. 2d 121 (D. Mass. 2001) ........................................................................................5

DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc.,
   469 F.3d 1005 (Fed. Cir. 2006)................................................................................................11

Epos Techs. Ltd. v. Pegasus Techs. Ltd.,
   766 F.3d 1338 (Fed. Cir. 2014)..................................................................................................4

Hill-Rom Services, Inc. v. Stryker Corp.,
    755 F.3d 1367 (Fed. Cir. 2014)................................................................................................12

HTC Corp. v. Cellular Commc’ns Equip., LLC,
  701 F. App’x 978 (Fed. Cir. 2017) ..........................................................................................19

Kaneka Corp. v. Xiamen Kingdomway Grp. Co.,
   790 F.3d 1298 (Fed. Cir. 2015)....................................................................................15, 19, 24

Liebel–Flarsheim Co. v. Medrad, Inc.,
   358 F.3d 898 (Fed. Cir. 2004)....................................................................................................6

Markman v. Westview Instruments, Inc.,
  52 F.3d 967 (Fed. Cir. 1995), aff’d, 517 U.S. 370 (1996) .........................................................5

Media Rights Techs., Inc. v. Capital One Fin. Corp.,
  800 F.3d 1366 (Fed. Cir. 2015)................................................................................................10


                                                                 ii
             Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 4 of 30




Meetrix IP, LLC v. Citrix Sys., Inc.,
  No. 1:16-CV-1033-LY, 2017 WL 5986191 (W.D. Tex. Dec. 1, 2017) ..........................5, 6, 13

Merck & Co. v. Teva Pharm. USA, Inc.,
   395 F.3d 1364 (Fed. Cir. 2005)................................................................................................17

Microlinc, LLC v. Intel Corp.,
   No. 2:07-CV-488, 2013 WL 2471551 (E.D. Tex. June 7, 2013).............................................22

MIT v. Shire Pharm., Inc.,
   839 F.3d 1111 (Fed. Cir. 2016)................................................................................................22

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)..................................................................................6, 9, 12, 14

Pilot Energy Sols., L.L.C. v. OXY USA Inc.,
    No. A-16-CA-00687-SS, 2017 WL 3726432 (W.D. Tex. Aug. 25, 2017) ................................7

Pisony v. Commando Constr., Inc.,
   No. W-17-CV-00055-ADA, 2019 WL 928406 (W.D. Tex. Jan. 23, 2019) ..........13, 16, 21, 23

Power Mosfet Techs., L.L.C. v. Siemens AG,
   378 F.3d 1396 (Fed. Cir. 2004)................................................................................................17

Thorner v. Sony Computer Entm’t Am. LLC,
   669 F.3d 1362 (Fed. Cir. 2012)......................................................................................5, 16, 22

U.S. Surgical Corp. v. Ethicon, Inc.,
   103 F.3d 1554 (Fed. Cir. 1997)................................................................................................16

V-Formation, Inc. v. Benetton Grp. SpA,
   401 F.3d 1307 (Fed. Cir. 2005)..................................................................................................6

Vitronics Corp. v. Conceptronic, Inc.,
    90 F.3d 1576 (Fed. Cir. 1996)....................................................................................................5

Williamson v. Citrix Online, LLC,
   792 F.3d 1339 (Fed. Cir. 2015) (en banc)..........................................................................10, 11

Zeroclick, LLC v. Apple Inc.,
   891 F.3d 1003 (Fed. Cir. 2018)..................................................................................................9

Statutes

35 U.S.C. § 112(f) ............................................................................................................................9

35 U.S.C. § 112, ¶ 6 .......................................................................................................9, 11, 13, 14


                                                                      iii
Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 5 of 30




                         EXHIBIT LIST

Exhibit 1    Chart showing side-by-side comparison of original language
             of claim 1 with terms identified by RetroLED in bold
             compared with claim 1 language with RetroLED’s proposed
             constructions applied in bold bracketing

Exhibit 2    Screenshot from RetroLED’s website located at
             http://retroledcomponents.com/

Exhibit 3    Excerpt from IEEE Standard Dictionary of Electrical and
             Electronics Terms (1977)

Exhibit 4    Screenshot showing International Electrotechnical
             Commission (IEC) definition of “low voltage” located at
             https://www.scribd.com/presentation/387761434/High-
             Voltage-Technology-1




                                 iv
           Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 6 of 30




          Pursuant to the Court’s Order Governing Proceedings – Patent Case (Dkt. No. 34),

Principal Lighting Group, LLC (“PLG”) hereby submits its Opening Claim Construction Brief

and respectfully shows the Court why its proposed claim constructions should be adopted over

those of RetroLED Components, LLC (“RetroLED”), as follows:

                                     I.     INTRODUCTION

          PLG presently asserts 10 claims from the sole asserted U.S. Patent No. 9,311,835 (“the

’835 Patent”). From those 10 asserted claims, RetroLED posits that nine claim terms require

specific constructions,1,2 while PLG maintains that those terms should be afforded their plain and

ordinary meaning. The ’835 Patent is an easily understandable, mechanical patent – but

RetroLED’s proposed constructions strain the claims in apparent attempt to inject non-

infringement and other defenses to PLG’s allegations of infringement. RetroLED’s design is

evident in that several of its verbose proposed constructions for otherwise self-defining claim

terms reuse or reshuffle the same claim language in conjunction with improperly importing

limitations from the specification or elsewhere in the claims. Indeed, RetroLED’s proposed

constructions would more than triple the length of claim 1 by transforming the claim from

approximately 250 words to over 800 words.3 Further, as shown below, not only are RetroLED’s

proposed constructions unnecessary to understanding the claims, its constructions are contrary to

legal presumptions, technical teachings, and the understanding a person of ordinary skill in the

art would have of the ’835 Patent.


1
    RetroLED initially identified 25 terms as needing construction.
2
  Eight of the nine claim terms RetroLED seeks to construe come from one or more of three
claims (claims 1, 13, and 19).
3
  To demonstrate the unreasonable result of RetroLED’s proposed constructions, PLG has
prepared Exhibit 1 hereto which reproduces the original language of claim 1 side-by-side the
language of claim 1 with RetroLED’s proposed constructions applied.
                                                  1
         Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 7 of 30




                                    II.     THE ’835 PATENT

       For many years, the commercial sign industry was dominated by the sale and installation

of incandescent gas-discharge lighting solutions (e.g., fluorescent or neon lighting) which were

expensive, inefficient, and cumbersome to replace regularly given their short service life. In

order to overcome these shortfalls, the sign industry began to replace these gas-discharge lamps

with more modern, longer lasting LED assemblies.

       However, at the advent of this transition, only the most primitive “retrofit” solutions had

been developed to replace fluorescent and neon lamps. This generally involved the labor and cost

intensive process of replacing entire internally-lighted or back-lit signs or outfitting these signs

with entirely new internal components to allow LED components to fit and operate.

       To overcome these obstacles, the inventor of the ’835 Patent created a lighting solution

which provided far more flexibility and less expense during the retrofitting process. As the ’835

Patent describes, “[l]amp support assembly 10 allows for sign 12, which may have been

originally designed and manufactured for internal lighting by one or more gas-discharge lamps

such as fluorescent or neon tube lamps 21 or the like, to be retrofitted with alternative lighting,

such as low-voltage lighting, largely or substantially without modifications to the original sign.”

See ’835 Patent at col. 3, ll. 51-56. An exemplary embodiment of sign 12 – with tube lamp 21

removed and replaced with lamp support assembly 10 – is depicted below:




                                                  2
         Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 8 of 30




       As shown, “[l]amp support assembly 10 includes an elongate support member 14 for

supporting one or more electric lamp units 28 which, in the illustrated embodiment, each include

four light emitting diode (LED) lamps 32.” Id. at col. 3, ll. 56-60. “Elongate support member 14

has opposite end portions 14a, 14b [] fitted with an end cap 16.” Id. at col. 3, ll. 61-64. “Each

end cap 16 has an inwardly-facing side 16a [] configured to engage one of the opposite end

portions 14a, 14b of the elongate support member 14, [as well as] outwardly-facing

sides 16b includ[ing] a mechanical coupling element 18 for engaging [] mounts or

sockets 20a, 20b.” Id. at col. 3, l. 64 to col. 4, l. 4. One embodiment of this arrangement is

depicted in Figure 4 reproduced below:




                                                  3
         Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 9 of 30




       By utilizing this patented end cap arrangement, installers are easily able to retrofit various

types of signs using a flexible array of lighting products with minimal constraints due to the size

of the sign or types of existing mounts installed therein. For example, RetroLED offers a number

of modular lighting components which allows users to “build your own LED light sticks” for

“[i]ncandescent to LED conversion” by “[r]etrofit into existing [s]ockets.” See Exhibit 2 hereto

(http://retroledcomponents.com/) (last visited June 19, 2019). Indeed, RetroLED has prepared

and advertises a video demonstrating the process of creating these infringing products. See

(https://vimeo.com/210437833) (last visited June 19, 2019). This flexibility was precisely the

purpose of the ’835 Patent and the reason RetroLED’s products seemingly remain commercially

viable in the marketplace.
                                                 4
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 10 of 30




                                    III.    APPLICABLE LAW

        “Claim construction is a legal statement of the scope of the patent right.” Epos Techs.

Ltd. v. Pegasus Techs. Ltd., 766 F.3d 1338, 1341 (Fed. Cir. 2014) (citing Lighting Ballast

Control LLC v. Philips Elecs. N. Am. Corp., 744 F.3d 1272, 1276–77, 1284 (Fed. Cir. 2014)).

Claim construction is a question of law that must be resolved by the Court. Markman v.

Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995), aff’d, 517 U.S. 370 (1996)). Its

purpose is to translate the claim language “into plain English so that a jury will understand.”

Control Res., Inc. v. Delta Elecs., Inc., 133 F. Supp. 2d 121, 127 (D. Mass. 2001).

        Claim terms “are generally given their ordinary and customary meaning.” Meetrix IP,

LLC v. Citrix Sys., Inc., No. 1:16-CV-1033-LY, 2017 WL 5986191, at *1 (W.D. Tex. Dec. 1,

2017) (citing Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005)). “[T]he ordinary and

customary meaning of a claim term is the meaning that the term would have to a person of

ordinary skill in the art in question at the time of the invention.” Id. (citing Phillips, 415 F.3d at

1313). “The person of ordinary skill in the art is deemed to have read the claim term in the

context of the entire patent.” Id. “The Federal Circuit has reaffirmed that a departure from the

ordinary and customary meaning is the exception, not the rule.” Id. at *2 (citing Thorner v. Sony

Computer Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012)). “There are only two

exceptions to this general rule: 1) when a patentee sets out a definition and acts as his own

lexicographer, or 2) when the patentee disavows the full scope of a claim term either in the

specification or during prosecution.” Thorner, 669 F.3d at 1365 (citing Vitronics Corp. v.

Conceptronic, Inc., 90 F.3d 1576, 1580 (Fed. Cir. 1996)).

        “It is well-settled that, in interpreting an asserted claim, the court should look first to the

intrinsic evidence of record, i.e., the patent itself, including the claims, the specification and, if in


                                                   5
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 11 of 30




evidence, the prosecution history.” Vitronics, 90 F.3d at 1582 (citing Markman, 52 F.3d at 979).

“Such intrinsic evidence is the most significant source of the legally operative meaning of

disputed claim language.” Id. The intrinsic record also includes “prior art cited in a patent or

cited in the prosecution history of the patent.” V-Formation, Inc. v. Benetton Grp. SpA, 401 F.3d

1307, 1311 (Fed. Cir. 2005) (citing Kumar v. Ovonic Battery Co., 351 F.3d 1364, 1368 (Fed. Cir.

2003); Tate Access Floors, Inc. v. Interface Architectural Res., Inc., 279 F.3d 1357, 1371–72 n. 4

(Fed. Cir. 2002); Vitronics, 90 F.3d at 1582; Markman, 52 F.3d at 979-80).

       Claim construction always begins with the language of the claims themselves. V-

Formation, 401 F.3d at 1311. “Claim language guides the court’s construction of claim terms.

‘The context in which a term is used in the asserted claim can be highly instructive.’ Other

claims, asserted and unasserted, can provide additional instruction because ‘terms are normally

used consistently throughout the patent.’ Differences among claims, such as additional

limitations in dependent claims, can provide further guidance.” Advanced Electrolyte Techs. LLC

v. Samsung SDI Co., Ltd, No. A:17-CV-0030-LY, 2018 WL 2770648, at *2 (W.D. Tex. June 8,

2018) (citing Phillips, 415 F.3d at 1312). Further, “the presence of a dependent claim that adds a

particular limitation gives rise to a presumption that the limitation in question is not present in

the independent claim.” Phillips, 415 F.3d at 1314–15 (citing Liebel–Flarsheim Co. v. Medrad,

Inc., 358 F.3d 898, 910 (Fed. Cir. 2004)). “[W]here the limitation that is sought to be ‘read into’

an independent claim already appears in a dependent claim, the doctrine of claim differentiation

is at its strongest.” Liebel-Flarsheim, 358 F.3d at 910. It is also a well-known tenet of claim

construction law that “it is improper to read limitations from a preferred embodiment described

in the specification—even if it is the only embodiment—into the claims absent a clear indication

in the intrinsic record that the patentee intended the claims to be so limited.” Meetrix IP, 2017

                                                  6
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 12 of 30




WL 5986191, at *9 (citing Epos Techs., 766 F.3d at 1341).

       “Aside from the intrinsic evidence, the Court may also consult ‘extrinsic evidence,’

which is ‘all evidence external to the patent and prosecution history, including expert and

inventor testimony, dictionaries, and learned treatises.’” Pilot Energy Sols., L.L.C. v. OXY USA

Inc., No. A-16-CA-00687-SS, 2017 WL 3726432, at *3 (W.D. Tex. Aug. 25, 2017) (citing

Phillips, 415 F.3d at 1317). The Federal Circuit has stated that extrinsic evidence “can shed

useful light on the relevant art, but is less significant than the intrinsic record in determining the

legally operative meaning of disputed claim language.” C.R. Bard, Inc. v. U.S. Surgical Corp.,

388 F.3d 858, 862 (Fed. Cir. 2004) (internal quotations omitted) (citing Vanderlande Indus.

Nederland BV v. Int’l Trade Comm’n, 366 F.3d 1311, 1318 (Fed. Cir. 2004)).

                                        IV.     ARGUMENT

       A.      “Frictionally Engage [/Engaging]” (claims 1, 13, and 19)


              PLG’s Construction                                RetroLED’s Construction

 No construction necessary                             To engage by friction between the inwardly-
                                                       facing side of an end cap and an end portion
                                                       of the elongate support member/engaging by
                                                       friction between the inwardly-facing side of
                                                       an end cap and an end portion of the elongate
                                                       support member.

       The term “frictionally engage [/engaging]” is readily understandable to one of ordinary

skill in the art and needs no construction. Tellingly, the self-defining nature of this term is

manifested in the first four words of RetroLED’s proposal which seeks to define “frictionally

engage” as “to engage by friction . . . .” RetroLED’s proposed construction creates, as opposed

to alleviates, supposed “confusion” by first rearranging the relevant phrase (in the first four

words) and then adding to the construction language already present in the asserted claims.

                                                   7
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 13 of 30




       For example, claim 1 of the ’835 Patent recites, in relevant part, a “light support

assembly” comprising (highlighting added):




       RetroLED’s proposed construction unnecessarily shuffles and repeats the existing claim

langauge into the construction of “frictionally engage.” This would improperly render the

remainder of the highlighted claim language superfluous. Versata Software, Inc. v. Zoho Corp.,

213 F. Supp. 3d 829, 837 (W.D. Tex. 2016) (“[I]nterpretations that render some portion of the

claim language superfluous are disfavored.”) (quoting Power Mosfet Techs., L.L.C. v. Siemens

AG, 378 F.3d 1396, 1410 (Fed. Cir. 2004)).

       The following table further demonstrates the confusing and superfluous import

RetroLED’s proposed construction would have on claim 1:

             Claim 1 As Written                        With RetroLED’s Proposed Construction

 one and only one end cap at each of said             one and only one end cap at each of said
 opposite end portions of said elongate support       opposite end portions of said elongate support
 member, each of said end caps having an              member, each of said end caps having an
 inwardly-facing side and an outwardly-facing         inwardly-facing side and an outwardly-facing
 side, said inwardly-facing sides configured          side, said inwardly-facing sides configured
 to frictionally engage and be supported at a         to [to engage by friction between the
 respective one of said opposite end portions inwardly-facing side of an end cap and an
 of said elongate support member;                     end portion of the elongate support


                                                  8
          Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 14 of 30




                                                       member] and be supported at a respective
                                                       one of said opposite end portions of said
                                                       elongate support member;


         There is simply no purpose served or “confusion” corrected by RetroLED’s proposed

construction. Rather, RetroLED’s seeks to unnecessarily complicate and confuse claim 1. For at

least these reasons, RetroLED’s proposal should be rejected, and “frictionally

engaged[/engaging]” should be given its plain and ordinary meaning.

         B.      “Elongate Support Member” (claims 1, 13, and 19)


               PLG’s Construction                               RetroLED’s Construction

    No construction necessary                          Subject to pre-AIA 35 U.S.C. § 112, ¶ 6.
                                                       Function: to support a plurality of electrical
                                                       lamps
                                                       Structure: an I-beam structure
                                                       Support: Figs. 4-6; Figs. 8-9; Figs. 21A &
                                                       21B; a portion of Fig. 24; col. 3, ll. 60-63; and
                                                       col. 4, 35-60.

         A claim limitation that does not use the term “means” or “step” triggers the rebuttable

presumption that pre-AIA 35 U.S.C. § 112, ¶ 6 does not apply.4 See, e.g., Phillips v. AWH

Corp., 415 F.3d 1303, 1310 (Fed. Cir. 2005) (en banc). This presumption is only overcome if a

challenger demonstrates, by a preponderance of the evidence, that “the claim term fails to recite

sufficiently definite structure or else recites function without reciting sufficient structure for



4
  The ’835 Patent claims priority to U.S. Provisional Patent Application No. 61/417,156 filed on
November 24, 2010, and therefore pre-AIA 35 U.S.C. § 112, ¶ 6 applies. However, PLG notes
that courts have treated pre-AIA 35 U.S.C. § 112, ¶ 6 and AIA 35 U.S.C. § 112(f) similarly for
purposes relevant to claim construction and thus post-AIA jurisprudence is relevant to pre-AIA
35 U.S.C. § 112, ¶ 6.
                                                   9
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 15 of 30




performing that function.” Zeroclick, LLC v. Apple Inc., 891 F.3d 1003, 1007 (Fed. Cir. 2018)

(quoting Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015) (en banc)).

“The standard is whether the words of the claim are understood by persons of ordinary skill in

the art to have a sufficiently definite meaning as the name for structure.” Williamson, 792 F.3d at

1349.

        RetroLED cannot credibly claim that the term “elongate support member” fails to recite

“sufficiently definite structure” so as to overcome the presumption against § 112, ¶ 6 that exists

here where the term “means” is not recited. Indeed, the claim language itself – bolstered by the

specification – makes clear that the “elongate support member” has a definite structure that

extends the length of the internally-lit sign and replaces gas-discharge lamps by supporting

various electrical lamp units (e.g., LEDs). See ’835 Patent, col. 3, ll. 60-63; col. 4:35-60; Fig. 4;

see also Media Rights Techs., Inc. v. Capital One Fin. Corp., 800 F.3d 1366, 1372 (Fed. Cir.

2015) (noting that to determine whether § 112, ¶ 6 applies, “we ask if the claim language, read in

light of the specification, recites sufficiently definite structure to avoid § 112, sixth paragraph.”)

(quoting Robert Bosch, LLC v. Snap–On Inc., 769 F.3d 1094, 1099 (Fed. Cir. 2014)). Each and

every limitation of claim 1 recites structural features which are either attached to the elongate

support member or which interact with the same. A person of ordinary skill in the art would have

no issue recognizing the definite nature of “elongate support member 14” which is described in

detail and illustrated in the specification including (highlighting added):




                                                  10
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 16 of 30




       Setting aside the fact that “elongate support member” clearly connotes a sufficient

structure in both the claims and specification, RetroLED is incapable of identifying any “non-

structural generic placeholder” which would overcome the presumption against applying § 112, ¶

6. See Williamson, 792 F.3d at 1350 (“Generic terms [] and other nonce words that reflect

nothing more than verbal constructs may be used in a claim in a manner that is tantamount to

using the word ‘means’ because they ‘typically do not connote sufficiently definite structure’ and

therefore may invoke § 112, para. 6.”) (citations omitted). The Federal Circuit has rejected

attempts to invoke § 112, ¶ 6 for terms reciting “member,” particularly when the context of the

claim and specification provide detailed structure. See DePuy Spine, Inc. v. Medtronic Sofamor

Danek, Inc., 469 F.3d 1005, 1023 (Fed. Cir. 2006) (“Here, the ‘compression member’ limitation

does not use the term ‘means,’ and the presumption against means-plus-function treatment is not

overcome. The claims and the specification unmistakably establish that ‘compression member’

                                                11
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 17 of 30




refers to particular structure.”); Bos. Sci. Corp. v. Cook Grp. Inc., No. CV 15-980-LPS-CJB,

2017 WL 1364205, at *4 (D. Del. Apr. 12, 2017) (“Thus, the claims, specification, and figures

not only articulate where the ‘tension member’ is located and how it interacts with other parts of

the apparatus, but they do so in a way that provides insight into how the ‘tension member’ itself

must be structured.”).

       Notably, RetroLED recognizes at least one structural embodiment in its proposed

“structure.” However, a closer examination of RetroLED’s proposal reveals RetroLED’s true

intent – to limit this term to just one embodiment (i.e., “an I-beam structure”) and exclude other

infringing embodiments. More specifically, while RetroLED’s proposed “structure” would

narrow the “elongate support member” to just one structural embodiment, the proposed

“function” adds nothing beyond merely repeating part of the existing claim language. See, e.g.,

’835 Patent, claims 1 and 19 (“an elongate support member for supporting a plurality of electric

lamp units”) (emphasis added). This ambitious attempt to narrow the scope of the asserted claims

should be rejected as contrary to multiple bedrock principles of claim construction.

       RetroLED commits “one of the cardinal sins of patent law,” which is the mistake of

directly “reading a limitation from the written description into the claims.” See Phillips v. AWH

Corp., 415 F.3d 1303, 1320 (Fed. Cir. 2005) (internal quotations omitted)). There is simply no

evidence whatsoever that the patentee intended to limit the “elongate support member” to merely

“an I-beam structure” embodiment. Hill-Rom Services, Inc. v. Stryker Corp., 755 F.3d 1367,

1371 (Fed. Cir. 2014) (“Even when the specification describes only a single embodiment, the

claims of the patent will not be read restrictively unless the patentee has demonstrated a clear

intention to limit the claim scope using ‘words or expressions of manifest exclusion or

restriction.’”). In fact, dependent claims 2 and 11 clarify that only in certain embodiments does

                                                12
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 18 of 30




the “elongate support member comprise[] an I-beam cross section.” Thus, not only is

RetroLED’s proposal of having only “an I-beam structure” contrary to evidence, it violates the

principle of claim differentiation which this Court recently espoused. See Pisony v. Commando

Constr., Inc., No. W-17-CV-00055-ADA, 2019 WL 928406, at *3 (W.D. Tex. Jan. 23, 2019)

(“The Court understands that it is well established that the presence of a dependent claim that

adds a particular limitation gives rise to a presumption that the limitation in question is not

present in the independent claim. [W]here the limitation that is sought to be read into an

independent claim already appears in a dependent claim; the doctrine of claim differentiation is

at its strongest.”) (citations and quotations omitted).

       RetroLED’s proposal is fundamentally and fatally flawed for the numerous reasons

discussed above. In any event, RetroLED does not and cannot show that the term “elongate

support member” would not be understood by either a person of ordinary skill in the art (or even

a lay juror). Given that this term is readily understandable, not confusing, and does not invoke

application of § 112, ¶ 6, the Court should find that no construction is required. Id. at *5 (“The

Court finds that this claim term should be given its Plain and Ordinary meaning. The Court finds

that there is nothing about the claim term that is confusing; therefore, the term requires no

construction.”); Meetrix IP, LLC v. Citrix Sys., Inc., No. 1:16-CV-1033-LY, 2017 WL 5986191,

at *2 (W.D. Tex. Dec. 1, 2017) (“The Federal Circuit has reaffirmed that a departure from the

ordinary and customary meaning is the exception, not the rule.”) (citation omitted).

       C.      “Mechanical Coupling Element” (claims 1 and 19)


              PLG’s Construction                              RetroLED’s Construction

 No construction necessary                          Subject to pre-AIA 35 U.S.C. § 112, ¶ 6.
                                                    Function: to mechanically engage or be
                                                    received in a single electromechanical mount
                                                  13
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 19 of 30




                                                    for a gas-discharge lamp
                                                    Structure: a base plate or flange and a male
                                                    prong or projection extending outwardly from
                                                    base plate, which in turn has a pair of opposite
                                                    side walls spaced from each other and joined
                                                    at their ends by rounded end walls to define
                                                    an interior cavity, which includes a pair of
                                                    recessed shoulders inside the cavity that
                                                    project outwardly from base plate but not as
                                                    far as do side walls and which form the
                                                    outward extent of rounded end walls so that a
                                                    gap is formed between end portions of the
                                                    opposite side walls
                                                    Support: Fig. 20; col. 3, l. 66 – col. 4, l. 6; col.
                                                    2, ll. 29-32; col. 5, ll. 19-31; col. 5, ll. 32-55

       Like discussed above with respect to the term “elongate support member,” RetroLED’s

proposal for “mechanical coupling element” runs afoul of numerous claim construction

principles and long-standing legal presumptions. In particular, the same presumption against §

112, ¶ 6 applies here. Phillips, 415 F.3d at 1310. Further, RetroLED’s proposed “structure” (i)

contradicts its other proposed claim construction in this case;5 (ii) reveals that there is

unquestionably sufficient structure recited in the claims and specification such that RetroLED

cannot possibly overcome the presumption against § 112, ¶ 6; and (iii) once again improperly

injects embodiments from the specification into the claims under the cover of § 112, ¶ 6.

       Aside from these problems with its proposal, RetroLED’s proposed “structure” is

incomplete as it omits embodiments described in the specification. See ’835 Patent, col. 5, ll. 19-




5
  As discussed below, RetroLED proposes a specific structural definition for the term
“coupling.” RetroLED cannot reconcile the incompatible positions that there is sufficient
structural support for “coupling” on one hand so as not to invoke § 112, ¶ 6, but no structural
support for “mechanical coupling element” on the other hand. Further, RetroLED’s positions
raises the conundrum of applying a claim construction for one term within a phrase that has a
separate construction (under § 112, ¶ 6 no less).
                                                  14
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 20 of 30




25 (“Mechanical coupling element 18, which is disposed along outwardly-facing side 16b of end

cap 16 [], substantially replicates the structure of the conventional electro-mechanical end

coupler 21 a of a ‘high output’ fluorescent tube lamp 21, and is shaped to engage or be received

in the conventional or standard electro-mechanical sockets or mounts 20a, 20b.”); id. at col. 5, ll.

44-55 (“[M]echanical coupling elements 18 lack electrical conductors since they need not be

used to conduct electricity to electric lamp units 28. In all other respects, mechanical coupling

elements 18 may be structurally very similar or even identical to the conventional electro-

mechanical end couplers 21 a of high output fluorescent tube lamps 21, which are configured to

mechanically and electrically engage the standard electro-mechanical sockets or mounts 20a,

20b of sign 12 (FIG. 1). Mechanical coupling elements 18 may be made from injection-molded

non-metal material, for example, such as a resinous plastic material or the like.”). RetroLED

cannot cherry pick certain structure over others described in the specification in hope to narrow

the scope of “mechanical coupling element” (to the extent § 112, ¶ 6 would apply to begin with,

which it should not for the reasons discussed above).

       Similarly, RetroLED’s proposed “function” is flawed. Aside from adding the unnecessary

phrase “mechanically engage” to the “function,” RetroLED’s proposal would omit at least the

different types of “mounts” recited in claims 19 and 20. In particular, RetroLED proposes that

the “mechanical coupling element” solely engages with “a single electromechanical mount,” but

claim 19 makes clear that it actually engages with “individual standard mounts” and claim 20

recites engaging with “purely mechanical mounts.” Thus, RetroLED’s proposal is not only

unreasonably narrow, it also actually excludes embodiments explicitly recited in dependent

claims. Kaneka Corp. v. Xiamen Kingdomway Grp. Co., 790 F.3d 1298, 1304 (Fed. Cir. 2015)




                                                 15
          Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 21 of 30




(“A claim construction that excludes a [disclosed] embodiment is rarely, if ever, correct.”)

(quotation omitted).

         D.      “End Cap” (claims 1, 13, and 19)


               PLG’s Construction                            RetroLED’s Construction

    No construction necessary                       A fitting that encases an end of the elongate
                                                    support member

         There is nothing in the intrinsic record that supports RetroLED’s proposed construction

or which would otherwise trigger an “exception” to the general rule that the term be given its

plain and ordinary meaning. Thorner, 669 F.3d at 1365. RetroLED’s overt attempts to inject non-

infringement arguments should be rejected. See Pisony v. Commando Constr., Inc., No. W-17-

CV-00055-ADA, 2019 WL 928406, at *5-*6 (W.D. Tex. Jan. 23, 2019) (rejecting verbose

proposal, applying patentee’s proposal to use plain and ordinary meaning, and finding that

“[s]uch additional verbiage is unnecessary, in the Court’s opinion, for any reason other than to

create a non-infringement argument.”); U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568

(Fed. Cir. 1997) (“Claim construction is a matter of resolution of disputed meanings and

technical scope, not an obligatory exercise in redundancy.”).

         Assuming arguendo that construction is required for this readily understandable term,

RetroLED’s proposed construction misses the mark. Not only does its proposal inject ambiguous

terms used nowhere in the intrinsic record (e.g., “a fitting” and “encases”6), the construction also

improperly excludes numerous embodiments. Kaneka, 790 F.3d at 1304 (rejecting proposed


6
  Merriam-Webster’s dictionary defines the word “encase” to mean “to enclose in or as if in a
case.” Encase Definition, MERRIAM-WEBSTER.COM, https://www.merriam-
webster.com/dictionary/encase (last visited June 11, 2019). However, the specification is not so
limited for the reasons set forth above.
                                                 16
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 22 of 30




construction excluding disclosed embodiments). In particular, the specification does not require

that end cap 16 “encase” or otherwise fully enclose the end portions 14a, 14b of elongate support

member 14. One such instance of partial covering is depicted in Figure 7, below:




       Moreover, RetroLED’s proposed construction would nullify and render superfluous claim

language which already explains the nature of the “end cap” as well as its relation to the entire

“lamp support assembly,” specifically including the “elongate support member.” See, e.g., ’835

Patent, claim 1 (“one and only one end cap at each of said opposite end portions of said elongate

support member”); see also Merck & Co. v. Teva Pharm. USA, Inc., 395 F.3d 1364, 1372 (Fed.

Cir. 2005) (“A claim construction that gives meaning to all the terms of the claim is preferred

over one that does not do so.”); Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396,

1410 (Fed. Cir. 2004) (“[I]nterpretations that render some portion of the claim language

superfluous are disfavored.”).




                                                17
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 23 of 30




       E.      “Non-Electrically Engage” (claim 19)


             PLG’s Construction                             RetroLED’s Construction

 No construction necessary                        To engage a mechanical coupling element
                                                  with a standard gas discharge lamp mount
                                                  without creating a conductive path between
                                                  the two

       Aside from the term “non-electrically engage” being easily understandable to one of skill

in the art, RetroLED’s verbose proposal improperly adds an action step (e.g., “to engage . . .

without creating a conductive path”) and superfluous structural relationships (e.g., “a mechanical

coupling element with a standard gas discharge lamp mount”) to apparatus claim 19. Not only

are these additions improper, they are unnecessary given already present language in claim 19

(highlighting added):




       To the extent RetroLED is seeking to explain the correlation between claim elements, it

fails to add anything to the existing language and instead adds terms found nowhere in the

intrinsic record (e.g., “creating,” “standard gas discharge lamp mount” and “conductive path”).

It is unclear why RetroLED believes these undefined terms are somehow helpful. If anything, the

language of RetroLED’s proposed construction only serves to compound any supposed

confusion. For example, what purpose is served by using “to engage” to define “engage?” Or,

how is “to engage . . . without creating a conductive path” any more clear or accurate than “non-
                                                18
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 24 of 30




electrically engage” when conduction can include far more than just electricity (e.g., heat, sound,

vibration, etc.)? RetroLED’s proposed construction unnecessarily sows such questions and

should be rejected.

       Aside from these practical problems, RetroLED’s litigation-driven proposal here would

essentially nullify dependent claim 20 (much like RetroLED’s “function” proposal for the term

“mechanical coupling element” discussed above). In particular, by requiring “non-electrically

engage” to be amongst “a mechanical coupling element with a standard gas discharge lamp

mount,” RetroLED’s proposal excludes the embodiment wherein the “purely mechanical

mounts” replace the “standard mounts.” See, e.g., Kaneka, 790 F.3d at 1304.

       F.      “Mount”/“Coupling” (claims 1, 8, 13, 14, 16, and 18-20)


             PLG’s Construction                              RetroLED’s Construction

 No construction necessary                         Mount that supports the weight of a gas-
                                                   discharge lamp or replacement

       RetroLED has taken the position that the terms “mount” and “coupling” are the same for

purposes of the claims of the ’835 Patent. Momentarily setting aside the merits of that position,

PLG notes that RetroLED’s proposed construction runs contrary to the general presumption that

different meanings attach to different words. See CAE Screenplates, Inc. v. Heinrich Fiedler

GmbH & Co., 224 F.3d 1308, 1317 (Fed. Cir. 2000) (“In the absence of any evidence to the

contrary, we must presume that the use of . . . different terms in the claims connotes different

meanings.”). As the Federal Circuit has made clear, “[t]he separate naming of two structures in

the claim strongly implies that the named entities are not one and the same structure.” HTC

Corp. v. Cellular Commc’ns Equip., LLC, 701 F. App’x 978, 982 (Fed. Cir. 2017); see also

Becton, Dickinson & Co. v. Tyco Healthcare Grp., LP, 616 F.3d 1249, 1254 (Fed. Cir. 2010)

                                                19
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 25 of 30




(“Where a claim lists elements separately, ‘the clear implication of the claim language’ is that

those elements are ‘distinct component[s]’ of the patented invention.”) (quoting Gaus v. Conair

Corp., 363 F.3d 1284, 1288 (Fed. Cir. 2004)).

       A review of the claims and specification demonstrates that RetroLED’s proposal falls

short. For example, claim 1 recites that (highlighting added):




       In other words, the “coupling” is configured to engage with the “mount” per the plain

language of claim 1 (as well as claim 19 which contains a similar limitation). It is unclear how

two disparately named structural elements can be the “same” when the claim limitations clearly

explain these elements “engage” one another. Similarly, the specification discloses that

“[m]echanical coupling element 18, which is disposed along outwardly-facing side 16b of end

cap 16 [] is shaped to engage or be received in the conventional or standard electro-mechanical

sockets or mounts 20a, 20b.” See ’835 Patent, col. 5, ll. 19-25. This arrangement is depicted in

the figures, which show a constructed “light support assembly” including elongate support

member 14 with end caps 16 having mechanical coupling elements 18 which can then be

engaged with mounts 20a, 20b as shown in the images below (highlighting added):




                                                20
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 26 of 30




 Fig. 7 with “mechanical coupling element 18” Fig. 23 depicting “mounts 20a, 20b”
 highlighted

       Thus, even if the readily understandable terms “mount” and “coupling” actually required

construction – which they do not – RetroLED’s proposed construction, which would make these

disparate elements identical, contradicts the claims and intrinsic record.

       In any event, RetroLED’s proposal is entirely unreasonable as a practical matter. There is

no conceivable benefit (or purported confusion corrected) by using the term “mount” to define

“mount.” Further, RetroLED’s addition of the phrase “support the weight” appears nowhere in

the intrinsic record. Even further, RetroLED’s proposed construction violates the principle of

claim differentiation given that the use of the “mount” as “support” is already recited in

dependent claim 8 which states that “each of the mounts [is] configured for supporting a

respective opposite end portion or coupler of a gas-discharge lamp.” See Pisony v. Commando

Constr., Inc., No. W-17-CV-00055-ADA, 2019 WL 928406, at *3 (W.D. Tex. Jan. 23, 2019)

(discussing presumption created by doctrine of claim differentiation).




                                                 21
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 27 of 30




       G.      “Low Voltage” (claims 16, 17, and 19)


              PLG’s Construction                             RetroLED’s Construction

 No construction necessary                         Voltages lower than 110

       RetroLED’s proposal is an obvious attempt to inject a non-infringement argument despite

the fact that: (i) there is no basis whatsoever to suggest that the patentee intended the term “low

voltage” to be limited as RetroLED seeks; and (ii) the proposal is contradicted by a myriad of

technical dictionaries and international electrical engineering communities. RetroLED’s

argument should be flatly rejected.

       Effectively, RetroLED seeks a construction which would exclude certain embodiments so

as to shield itself from infringement. Such a limiting construction would require a showing of

one of two exceptions: “1) when a patentee sets out a definition and acts as his own

lexicographer, or 2) when the patentee disavows the full scope of a claim term either in the

specification or during prosecution.” Thorner, 669 F.3d at 1365. Any disclaimer of a particular

interpretation of a claim “must be clear and unmistakable” to “one of ordinary skill in the art.”

Microlinc, LLC v. Intel Corp., No. 2:07-CV-488, 2013 WL 2471551, at *8 (E.D. Tex. June 7,

2013) (citing Elbex Video, Ltd. v. Sensormatic Electronics Corp., 508 F.3d 1366, 1371 (Fed. Cir.

2007)). If the challenged statements are ambiguous or amenable to multiple reasonable

interpretations, prosecution disclaimer is not established. See MIT v. Shire Pharm., Inc., 839 F.3d

1111, 1119 (Fed. Cir. 2016).

       There is no mention whatsoever – in the claims, figures, specification or prosecution

history – regarding “low voltage” being within a certain voltage range, let alone excluding

voltages above 110. As such, there is no question that the patentee did not act as a


                                                 22
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 28 of 30




“lexicographer.” Similarly, there can be no “clear and unmistakable” disclaimer when this

proposed range is never mentioned in any prosecution history arguments.

       The only conceivable basis for RetroLED’s proposal is a technical argument based on

what one of ordinary skill in the art would supposedly understand “low voltage” to mean.

However, PLG attaches hereto a definition from a well-recognized technical dictionary that

defines “low voltage” as being understood in the art to be up to 1000 volts. See, e.g., Exhibit 3

hereto (IEEE Standard Dictionary of Electrical and Electronics Terms, The Institute of Electrical

and Electronics Engineers, Inc. (Frank Jay, ed., 2nd ed. 1977), at 388) (defining “low-voltage

system (electrical power)” as “[a]n electric system having a maximum root-mean-square

alternating-current voltage of 1000 volts or less”); see also Pisony v. Commando Constr., Inc.,

No. W-17-CV-00055-ADA, 2019 WL 928406, at *4, n. 1 (W.D. Tex. Jan. 23, 2019) (“Technical

dictionaries may assist a court in ‘better understand[ing] the underlying technology’ and the way

in which one of skill in the art might use the claim terms.”) (citing Phillips, 415 F.3d at 1318).

This understanding is substantiated by the International Electrotechnical Commission (IEC)

which defines “low voltage” as voltage in the range 50 to 1000 V AC or 120 to 1500 V DC. See

Exhibit 4 hereto (https://www.scribd.com/presentation/387761434/High-Voltage-Technology-1)

(last visited June 19, 2019). Further, courts have found that “low voltage” includes “up to 1,000

volts” in the context of electrical equipment. See Varentec, Inc. v. Gridco, Inc., No. CV 16-217-

RGA, 2017 WL 3731243, at *4 (D. Del. Aug. 30, 2017). Thus, at minimum, “low voltage”

should not be construed to exclude voltages less than 1000 volts.

       PLG anticipates that RetroLED will attempt to create a technical dispute on this point

based on cherry-picked extrinsic evidence. However, there is simply no support in the intrinsic

record for such a limiting reading of the understandable phrase “low voltage.” As such, there can

                                                 23
         Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 29 of 30




be no “clear and unmistakable” meaning or disavowal necessary to disrupt the understanding one

of ordinary skill in the art would have.

        H.      “Resinous Plastic Extrusion” (claim 12)


              PLG’s Construction                            RetroLED’s Construction

 No construction necessary                         A synthetic resin that is shaped by forcing
                                                   [the resin] through a mold

        Once again, RetroLED’s proposal serves to create unnecessary confusion by replacing

easily understandable terminology with terms and phrases not found in the specification or file

history. For example, the term “synthetic” is found nowhere in the intrinsic record. The purpose

of this terminology is unclear, but there is no legitimate purpose served by substituting “synthetic

resin” for “resinous plastic,” which would be readily understandable to a person of ordinary skill

in the art.

        Further, RetroLED’s attempt to limit “extrusion” to a product created by “forcing [the

resin] through a mold” runs contrary to the specification which makes clear that “[i]t will be

appreciated that the term ‘elongate extrusion’ is used for convenience, and that elongate support

members 14 may be formed via any desired method, such as molding or machining or extruding

or the like.” See ’835 Patent, col. 7, ll. 12-16. RetroLED’s attempts to exclude these additional

embodiments should be rejected. See, e.g., Kaneka, 790 F.3d at 1304.

                                     V.      CONCLUSION

        For the foregoing reasons, PLG respectfully requests that the Court reject RetroLED’s

verbose, litigation-driven proposed constructions and instead adopt PLG’s position that the

disputed claim terms be afforded their plain and ordinary meaning as would be understood by

one of ordinary skill in the art.

                                                24
        Case 6:18-cv-00055-ADA Document 36 Filed 06/19/19 Page 30 of 30




       Dated: June 19, 2019                            Respectfully submitted,

                                              By: /s/ Wasif H. Qureshi
                                                  Wasif H. Qureshi
                                                   Texas State Bar No. 24048155
                                                   wqureshi@jw. com
                                                   JACKSON WALKER LLP
                                                   1401 McKinney, Suite 1900
                                                   Houston, Texas 77010
                                                   Telephone: (713) 752-4521

                                                      Blake T. Dietrich
                                                      Texas State Bar No. 24087420
                                                      bdietrich@jw.com
                                                      JACKSON WALKER LLP
                                                      2323 Ross Ave., Suite 600
                                                      Dallas, TX 75201
                                                      Telephone: (214) 953-6000

                                              COUNSEL FOR DEFENDANT PRINCIPAL
                                              LIGHTING GROUP, LLC


                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 19, 2019, I electronically filed the foregoing and attached
documents with the clerk of the court for the U.S. District Court, Western District of Texas,
using the Court’s electronic case filing system, and thus those documents have been
electronically served on counsel of record.

                                                  /s/ Wasif H. Qureshi
                                                  Wasif H. Qureshi




                                                 25
